           Case 2:10-cr-00347-DAD Document 230 Filed 12/11/12 Page 1 of 4


1    done. BENJAMIN B. WAGNER
     United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2918
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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )    2:10-cr-00347 MCE
12             Plaintiff,              )
                                       )   STIPULATION AND
13                                     )   ORDER CONTINUING STATUS
          v.                           )   CONFERENCE
14                                     )
     LEONARD WOODFORK, NAVPREET        )
15   SINGH, LOVEDEEP SIDHU,            )
     NAVJOT SINGH, JASON               )
16   CAVILEER, and RAMIRO              )
     GARCIA,                           )
17                                     )
               Defendants.             )
18                                     )
19
20        IT IS HEREBY STIPULATED by and between Plaintiff United
21   States of America, by and through Assistant United States
22   Attorney Todd D. Leras, and Attorney Olaf Hedberg on behalf of
23   Leonard Woodfork, Attorney John Virga on behalf of Navpreet
24   Singh, Christopher Haydn-Myer on behalf of Lovedeep Sidhu, Mark
25   Reichel on behalf of Navjot Singh, Dan Koukol on behalf of Jason
26   Cavileer, and Christopher Cosca on behalf of Ramiro Garcia, that
27   the status conference scheduled for December 7, 2012, be
28   continued to January 31, 2013, at 9:00 a.m.

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1         Plea Agreements are pending for several defendants in this
2    matter.   In addition, continuing investigation is occurring
3    because the conspiracy alleged in the case involves voluminous
4    discovery, including telephone calls intercepted during the
5    course of three successive rounds of wiretaps.          Counsel requires
6    additional preparation time.      The parties therefore request to
7    continue the status conference to January 31, 2013.
8         For the above-stated reasons, the parties stipulate that
9    time be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code
10   T4 (reasonable time to prepare and continuity of counsel).
11   Defense counsel have authorized Assistant U.S. Attorney Todd D.
12   Leras to sign this stipulation on their behalf.
13
14   DATED: December 5, 2012           By: /s/ Todd D. Leras
                                            TODD D. LERAS
15                                          Assistant U.S. Attorney
16
17   DATED: December 5, 2012           By: /s/ Todd D. Leras for
                                            OLAF HEDBERG
18                                          Attorney for Defendant LEONARD
                                            WOODFORK
19
20   DATED: December 5, 2012           By: /s/ Todd D. Leras for
                                            JOHN VIRGA
21                                          Attorney for Defendant
                                            NAVPREET SINGH
22
23   DATED: December 5, 2012           By: /s/ Todd D. Leras for
                                            CHRISTOPHER HAYDN-MYER
24                                          Attorney for Defendant
                                            LOVEDEEP SIDHU
25
26   DATED: December 5, 2012           By: /s/ Todd D. Leras for
                                            MARK REICHEL
27                                          Attorney for Defendant
                                            NAVJOT SINGH
28
                                         2
           Case 2:10-cr-00347-DAD Document 230 Filed 12/11/12 Page 3 of 4


1    DATED: December 5, 2012           By: /s/ Todd D. Leras for
                                            DAN KOUKOL
2                                           Attorney for Defendant
                                            JASON CAVILEER
3
4    DATED: December 5, 2012           By: /s/ Todd D. Leras for
                                            CHRISTOPHER COSCA
5                                           Attorney for Defendant
                                            RAMIRO GARCIA
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1
2         IT IS HEREBY ORDERED:
3         1.   A status conference in this matter is set for January
4    31, 2013, at 9:00 a.m.;
5         2.   Based on the stipulation of the parties, the Court
6    finds that the ends of justice outweigh the best interest of the
7    public and Defendant in a speedy trial.       Accordingly, time under
8    the Speedy Trial Act shall be excluded under 18 U.S.C. §
9    3161(h)(7)(B)(iv) and Local Code T4 (reasonable time to prepare)
10   up to and including January 31, 2013.
11        IT IS SO ORDERED
12
     Dated: December 11, 2012
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14                                     _____________________________
15                                     MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE
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